Case 8:24-cv-01628-DKC Document 1-19 Filed 06/05/24 Page 1 of 2




                        EXHIBIT Q
             TO PLAINTIFF’S COMPLAINT
         Case 8:24-cv-01628-DKC Document 1-19 Filed 06/05/24 Page 2 of 2



Tuesday, September 6, 2022



I checked the PO from JFT. It does not specify an amount of time to review the product after
acceptance. The process is that when the product is received, the government acknowledges
receipt, and JFT will then process payment to us after I provide that signed PA to them.

Normally the disc would not have been passed off without a signed acceptance form, that's why I
was trying to pass it off to you directly.

We were allowing the MULE to pick it up as a courtesy to make things easier since you were
going to give it to them anyways.

Our internal ISO/AS processes are such that we needed to receive a signed acknowledgment that
the product was delivered, but my intention was to send you an email with the form, which is
what I did.

The completion and worthiness of the product are assumed and expected, and are part of the
warranty, which I signed, and that puts my name on the line to go to jail if there is any fraud.

So looks like you can just verify that the contents are on the disc and sign the product acceptance
form. I can bring out the MULE or your engineers or whoever you want to provide a
demonstration or assistance with reviewing the contents later. Cool?
4:29 PM Scotty Jaster

Sorry super busy right now
4:30 PM Jeff Williamson


Wednesday, September 7, 2022

You able to give me a call in a bit? Have some information for you. I really need to get that
product acceptance form assigned today, before MULE or any of your contractors looks through
it. I'll tell you why when we get on the phone. Everything is good to go legally, I looked into that
yesterday and spoke with our lawyer who deals with DOD and NAVAIR contracts all the time.
The only person at risk is me, lol. Try to give me a call soon! : )
8:56 AM Scotty jaster
*signed, not assigned, lol
8:57 AM Scotty Jaster


Scott, I am up in DC today for my son's surgery. I am on leave and again I will not be signing the
form till the two GOVERNMENT responsible parties that know software give me the approval
that they received everything that was purchased. Once I have that from them I will sign the form
like we discussed yesterday. If that is still unacceptable please route your concerns through JFTI.
It's was your want to deliver around JFTI that has created this situation.
1:15 PM Jeff Williamson
